Case 1:21-cv-02095-PKC-JRC Document 8 Filed 05/12/21 Page 1 of 7 PageID #: 27




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May 12, 2021
VIA ECF

The Honorable James R. Cho
United States District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re: Collazos v. Garda CL Atlantic, Inc., 21-cv-02095-PKC-JRC

Dear Judge Cho:

Defendant, Garda CL Atlantic, Inc. (“Garda” or “Defendant”), by and through its undersigned
counsel Holland & Knight LLP, responds to the Court’s Order to Show Cause dated April 29,
2021 to show that Garda’s removal of the above-captioned matter to this Court is proper.

As detailed in the analysis below, the Court can assert diversity subject matter jurisdiction in this
case because the parties are diverse and the amount in controversy exceeds seventy-five thousand
dollars ($75,000) based on the allegations asserted by Plaintiff, Carlos Collazos (“Plaintiff”) in
the Complaint. This letter does not constitute an admission to any allegations in Plaintiff’s
Complaint, or a waiver of Garda’s legal defenses. The assertions herein are based solely on the
factual allegations and legal assertions found in Plaintiff’s Complaint, as well as Garda’s
information regarding Plaintiff’s employment. 1 See Declaration of Jacqueline Wulff, dated May
12, 2021, attached as Exhibit A.

                                             FACTUAL BACKGROUND

According to the Complaint, Garda employed Plaintiff as a driver from approximately 2010 until
the summer of 2018, and paid Plaintiff bi-weekly. Compl. ¶¶ 16, 24. Plaintiff’s hourly rate of pay
from March of 2015 until January of 2016 was $20.85; he was subsequently paid $20.95 per hour
from February of 2016 until April of 2016; $18.60 per hour from April of 2016 until May of 2016;
$19.20 per hour from May of 2016 until January of 2017; $19.40 per hour from January of 2017
until January of 2018; and finally, $19.55 per hour from January of 2018 until his termination in

1
  Garda vigorously disputes many of the factual and legal allegations and claims in Plaintiff’s Complaint. However,
for the purposes of this analysis, the allegations in Plaintiff’s Complaint are accepted as true. For purposes of that
analysis only, Garda provides this response, and reserves the right to dispute, defend, and strike the damages and
claims, which Garda may contend lack a basis in fact, law or merit.



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Case 1:21-cv-02095-PKC-JRC Document 8 Filed 05/12/21 Page 2 of 7 PageID #: 28


May 12, 2021
Page 2


August 20, 2018. See Ex. A. Accordingly, from March of 2015 to August of 2018, Plaintiff was
paid a total of $133,791.01, solely in bi-weekly payments. See Ex. A.

         PLAINTIFF’S COMPLAINT SEEKS DAMAGES THAT EXCEED $75,000 2

Plaintiff’s Complaint seeks damages for Garda’s alleged failure to pay Plaintiff overtime after 40
hours of work, (Plaintiff’s First Cause of Action) and for alleged failure to pay wages on a weekly
basis (Plaintiff’s Second Cause of Action).

                                        Plaintiff’s Causes of Action

Plaintiff’s First Cause of Action seeks payment for unpaid overtime at their regular rate of pay.
According, to Plaintiff, “Defendant was required to pay Plaintiff and the Class at a rate of one and
one half the regular rate for all hours worked in excess of forty (40) hours in a workweek.” Compl.
¶ 38. Plaintiff’s Second Cause of Action alleges that “Defendants willfully failed to pay the
Plaintiff and the Class as frequently as required by Labor Law § 191” and “Defendants willfully
failed to pay wages within seven days after the end of each workweek in which wages were earned
as required by Labor Law § 191.” Compl. ¶¶ 44-45.

Plaintiff’s prayer for relief seeks the following damages:

        A. Unpaid overtime pay under the Labor Law;
        B. Compensatory Liquidated damages on all Labor Law Claims;
        C. Reasonable attorney’s fees and costs of the action;
        D. Prejudgment interest; and
        E. Such other relief as this Court shall deem just and proper.

                                        Standard of Review

Generally, to determine the jurisdictional amount in controversy requirement, “the sum claimed
by the plaintiff controls, if the claim is apparently made in good faith.” A.F.A. Tours, Inc. v.
Whitchurch, 937 F.2d 82, 87 (2d Cir. 1991) (quoting St. Paul Mercury Indem. Co. v. Red Cab Co.,
303 U.S. 283, 288 (1938)). “It must appear to a legal certainty that the claim is really for less than
the jurisdictional amount to justify a dismissal.” Id.

Furthermore, the New York Labor Law (“NYLL”) provides for a six years statute of limitations
for unpaid wage claims or other claims arising under the NYLL. See NYLL §§ 198(3), 663(3).
Accordingly, Defendant’s calculations for purposes of this Letter go back to March of 2015.

2
 Defendant’s Counsel reviewed Plaintiff’s Complaint, and obtained information regarding his regular hourly rate and
yearly earnings from Garda in order to make the calculations, which assess the potential amount in controversy, not
necessary the amount owed to Plaintiff. See Declaration of Jacqueline Wulff, dated May 12, 2021, attached as Exhibit
A.




#84294720_v1
Case 1:21-cv-02095-PKC-JRC Document 8 Filed 05/12/21 Page 3 of 7 PageID #: 29


May 12, 2021
Page 3




               Calculations of Potential Damages Based on Plaintiff’s Allegations

Plaintiff brought this lawsuit against Garda under the NYLL claiming that Garda filed to pay him
overtime for all hours worked in excess of 40.

(1) Actual Damages and Liquidated Damages (approximately $92,500.6)

First, based on the First Cause of Action, Plaintiff’s claim may amount to actual damages of
approximately $12,802.55, and liquidated damages of $12,802.55, for a total amount of over
$25,605.10. NYLL §198.

Indeed, Plaintiff First Cause of Action alleges that “Defendant was required to pay Plaintiff and
the Class at a rate of one and one half the regular rate for all hours worked in excess of forty (40)
hours in a workweek.” If true, Plaintiff may be entitled to the following amounts for the years
2015 – 2018:

March 2015 - January 2016: From March of 2015 until February of 2016, Plaintiff’s hourly rate
of pay was $20.85; thus, his overtime rate as alleged by Plaintiff’s Complaint would be $31.28.
The difference would be $10.43 per overtime hour. At a maximum of 10 hours of overtime per
week during this time period, Plaintiff’s claim would amount to approximately $5,006.40. Given
that Plaintiff’s total earning for 2015 was $72.551.44, it appears that Plaintiff may have often
worked overtime during that year. See Ex. A.

February 2016 – March 2016: From February of 2016 until April of 2016, Plaintiff’s hourly rate
of pay was $20.95; thus, his overtime rate as alleged by Plaintiff’s Complaint would be $31.43.
The difference would be $10.48 per overtime hour. At a maximum of 10 hours of overtime per
week during this time period, Plaintiff’s claim would amount to approximately $838.40. See Ex.
A.

April 2016: In April of 2016, Plaintiff’s hourly rate of pay was $18.60; thus, his overtime rate as
alleged by Plaintiff’s Complaint would be $27.90. The difference would be $9.30 per overtime
hour. At a maximum of 10 hours of overtime per week during that month, Plaintiff’s claim would
amount to approximately $372.00. See Ex. A.

May 2016 – December 2016: From May of 2016 until December of 2016, Plaintiff’s hourly rate
of pay was $19.20; thus, his overtime rate as alleged by Plaintiff’s Complaint would be $28.80.
The difference would be $9.60 per overtime hour. At a maximum of 10 hours of overtime per
week during this time period, Plaintiff’s claim would amount to approximately $3,360.00. See Ex.
A.




#84294720_v1
Case 1:21-cv-02095-PKC-JRC Document 8 Filed 05/12/21 Page 4 of 7 PageID #: 30


May 12, 2021
Page 4


January 2017 – December 2017: Because Plaintiff worked mostly part-time in 2017, it does not
appear that he worked overtime. Accordingly, this time period was not included in the removal
calculation.

January 2018 – August 2018: From January of 2018 until August of 2018, Plaintiff’s hourly rate
of pay was $19.55, and his overtime rate as alleged by Plaintiff’s Complaint would be $29.33. The
difference would be $9.78 per overtime hour. At a maximum of 10 hours of overtime per week
during this time period, Plaintiff’s claim would amount to approximately $3,225.75. See Ex. A.

Accordingly, accordingly to Plaintiff’s Complaint, from March 2015 to August 2018, Plaintiff may
be entitled to claim actual damages of $12,802.55 and liquidated damages of $12,802.55, for a
total amount of over $25,605.10. NYLL §198.

Second, based on Plaintiff’s Second Cause of Action, Plaintiff’s claim liquated damages totaling
over $66,895.50. In this cause of action, Plaintiff claims that he is entitled to damages pursuant to
NYLL §191 because Garda filed to pay him on a weekly basis. This may be true as NYLL §191,
and the cases interpreting it have found that the potential liquidated damages recoverable for a
violation of the statute are the amount of the underpayment or the failure to receive pay that week
and each week that occurs. NYLL § 191 (stating that “a manual worker shall be paid weekly and
not later than seven calendar days after the end of the week in which the wages are earned.”); Vega
v. CM & Assocs. Constr. Mgmt., LLC, 175 A.D.3d 1144 (2019); Scott v. Whole Foods Mkt. Grp.,
Inc., No. 18CV0086SJFAKT, 2019 WL 1559424, at *4 (E.D.N.Y. Apr. 9, 2019). Further, NYLL
§198 reads as follows:

         In any action instituted in the courts upon a wage claim by an employee or the
        commissioner in which the employee prevails, the court shall allow such employee
        to recover the full amount of any underpayment, all reasonable attorney’s fees,
        prejudgment interest as required under the civil practice law and rules, and,
        unless the employer proves a good faith basis to believe that its underpayment of
        wages was in compliance with the law, an additional amount as liquidated
        damages equal to one hundred percent of the total amount of the wages found
        to be due,…. Emphasis added.

NYLL § 191. In Vega v. CM & Assocs. Constr. Mgmt., LLC, 175 A.D.3d 1144 (2019), the court
determined that liquidated damages may be available under NYLL § 198(1–a) to provide a remedy
to workers complaining of untimely payment of wages, as well as nonpayment or partial payment
of wages. Similarly, courts in the Eastern District of New York have reached a similar conclusion.
See Scott, v. Whole Foods Mkt. Grp., Inc., No. 18CV0086SJFAKT, 2019 WL 1559424, at *4
(E.D.N.Y. Apr. 9, 2019). Notably, even in the absence of actual damages, NYLL § 191 “requires
no additional evidence of actual damages beyond that delay, and an inquiry into “actual” damages
is not made in cases involving violations of § 191.” Id.




#84294720_v1
Case 1:21-cv-02095-PKC-JRC Document 8 Filed 05/12/21 Page 5 of 7 PageID #: 31


May 12, 2021
Page 5


Garda reserves the right to make additional substantive arguments as to Plaintiff’s alleged
entitlement for actual and liquidated damages under NYLL § 191 under the facts and the law at a
later time. However, a cursory review of the case law and NYLL §191 demonstrate that Plaintiff’s
claim for damages amounts to 50% of the pay actually received—or in other words, pay for every
other week of pay not received. Accordingly, because Garda paid Plaintiff a total of $133,791.01
from March 2015 to August of 2018 (See Ex. A), it appears that, based on Plaintiff’s Complaint
and allegations that Garda failed to pay Plaintiff on a weekly basis, Plaintiff’s potential liquidated
damages for this period would amount be fifty percent of his pay, thus $66,895.50.

(2) Prejudgment Interest (over $3,400)

Plaintiff’s Complaint requests an award for prejudgment interests. Generally, New York law
provides for an award of prejudgment interest on a variety of claims, including the claims for
unpaid wages asserted here, at an annual rate of nine percent. See N.Y. C.P.L.R. §§ 5001, 5004;
See NYLL § 198 (stating that the court shall allow the employee to recover the full amount of any
underpayment, all reasonable attorney’s fees, prejudgment interest as required under the civil
practice law and rules) (emphasis added). A court has discretion to choose a reasonable accrual
date. Conway v. Icahn & Co., Inc., 16 F.3d 504, 512 (2d Cir. 1994). Courts often select the median
date between the earliest ascertainable date the action arose, and the date the Plaintiff filed suit.
See, e.g., Pavia v. Around the Clock Grocery, Inc., 2005 WL 4655383, at *8 (E.D.N.Y. Nov. 15,
2005); Sarmiento Perez v. Comhar Grp. LLC, No. 19-CV-0964 (FB) (JO), 2020 WL 1364908, at
*7 (E.D.N.Y. Mar. 6, 2020), report and recommendation adopted, No. 19-CV-964 (FB) (JO), 2020
WL 1332200 (E.D.N.Y. Mar. 23, 2020). An award of prejudgment interests is calculated on the
unpaid wages due under the NYLL, not on the liquidated damages awarded under the state law.
Fermin v. Las Delicias Peruanas Rest., Inc., 93 F. Supp. 3d 19, 49 (E.D.N.Y. 2015).

Accordingly, NYLL § 198 explicitly provides for prejudgment interest where a plaintiff brings a
successful claim. Assuming that Plaintiff’s claims began to accrue in March of 2015 and Plaintiff
filed suit in March of 2021, the median date for accrual of prejudgment interest began on March
of 2018 and would continue daily on the actual wage damages of $12,802.55. Each year of interest
is $1,156.38, compounded yearly, which for three years would be approximately $3.469.14.

(3) Attorney’s Fees

The Second Circuit has held that attorney’s fees may be used to satisfy the amount in controversy
where they are recoverable as of right pursuant to statute or contract. Givens v. W.T. Grant Co.,
457 F.2d 612, 614 (2d Cir. 1972), vacated on other grounds, 409 U.S. 56, 93 S.Ct. 451, 34 L.Ed.2d
266 (1972); Maxons Restorations, Inc. v. Newman, 292 F. Supp. 2d 477, 482 (S.D.N.Y. 2003);
Gardiner Stone Hunter Int’l v. Iberia Lineas Aereas De Espana, S.A., 896 F. Supp. 125, 128
(S.D.N.Y. 1995); Trapanotto v. Aetna Life Ins. Co., No. 95 Civ. 10704, 1996 WL 417519, at *9
(S.D.N.Y. July 25, 1996). To that effect, the court may consider attorney’s fees as part of the
amount in controversy where they are anticipated or awarded in the governing statute. Henry v.
Warner Music Grp. Corp., No. 13-CV-5031 (PGG), 2014 WL 1224575, at *3 (S.D.N.Y. Mar. 24,




#84294720_v1
Case 1:21-cv-02095-PKC-JRC Document 8 Filed 05/12/21 Page 6 of 7 PageID #: 32


May 12, 2021
Page 6


2014). Accordingly, in an action brought pursuant to the NYLL, which expressly allows for an
award of attorney’s fees, attorneys’ fees may be included in the calculation of the amount in
controversy. Id. (citing NYLL § 198). In wage-and-hour cases, including those brought under the
NYLL, “fee awards representing one third of the total recovery are common.” Hyun v. Ippudo USA
Holdings, No. 14-CV-8706 (AJN), 2016 WL 1222347, at *3 (S.D.N.Y. Mar. 24, 2016).
Accordingly, to estimate the jurisdictional threshold, the Court may consider reasonable attorney’s
fees.

Here, assuming that fees amount to approximately one third of the potential recovery, the
attorneys’ fees award would amount to approximately $30,833. Even a nominal attorney fee award
in the instant case would be likely be no less than $7,800, which is approximately the amount of
attorney fees and costs the Eastern District of New York awarded to Plaintiff’s counsel in a case
where the defendant defaulted. See Maldonado v. Landzign Corp., No. CV 15-3054(DRH)(GRB),
2016 WL 4186982, at *1 (E.D.N.Y. Aug. 8, 2016) (awarding attorney fees and costs in a default
judgment). That said, we would expect reasonable attorney fees in the instant case to be a
minimum of at least $12,000 – and possibly reach $30,833, as Defendant Garda has not defaulted
and will fully defend itself throughout this class action litigation resulting in a significant legal
fees for both the Defendant Garda and the Plaintiff.

Adding these estimate amounts together,

Plaintiff’s potential NYLL overtime damages for hours between 40-50:                    $12,802.55

Plaintiff’s potential NYLL liquidated overtime damages:                                 $12,802.55

Plaintiff’s potential NYLL liquidated damages for weekly pay:                           $66,895.50

Plaintiff’s potential prejudgment interest on overtime claims:                          $3,469.14

Plaintiff’s potential attorney fees:                                                    $12,000 to $30,833

Plaintiff’s Potential Recovery and Amount in Controversy                        $107,969.74 to
$126,802.74 3

This estimate does not constitute a waiver of Garda’s right to dispute Plaintiff’s factual or legal
allegations. However, based on the factual and legal allegations in the Complaint, Garda believes
that the amount in controversy exceeds $75,000. Accordingly, this Court has proper jurisdiction.




3
 Defendant’s Counsel reviewed Plaintiff’s Complaint, and obtained information regarding his regular hourly rate and
yearly earnings from Garda in order to make the calculations, which assess the potential amount in controversy, not
necessary the amount owed to Plaintiff. See Ex. A.




#84294720_v1
Case 1:21-cv-02095-PKC-JRC Document 8 Filed 05/12/21 Page 7 of 7 PageID #: 33


May 12, 2021
Page 7


Respectfully submitted,

HOLLAND & KNIGHT LLP

/s/ Loren L. Forrest, Jr.
    Loren L. Forrest, Jr.




#84294720_v1
